        Case 1:18-cr-00331-MSK-GPG Document 38 Filed 01/17/19 USDC Colorado Page 1 of 6
AO 245B (Rev. 02/18)    Judgment in a Criminal Case



                                          UNITED STATES DISTRICT COURT
                                                                  District of Colorado
                                                                             )
              UNITED STATES OF AMERICA                                       )    JUDGMENT IN A CRIMINAL CASE
                                    v.                                       )
                                                                             )
               RICARDO DANIEL-ZEFERINO                                       )    Case Number:         1:18-cr-00331-MSK-1
                       a/k/a Juan Carlos Delacruz                            )    USM Number:          44833-013
                       a/k/a Juan Carlos Serrano                             )
                                                                             )    Barrett Thomas Weisz
                                                                             )    Defendant’s Attorney
THE DEFENDANT:
☒ pleaded guilty to count            1 of the Indictment
☐ pleaded nolo contendere to count(s)
  which was accepted by the court.
☐ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                           Offense Ended           Count
8 U.S.C. § 1326(a) and          Illegal Re-entry after Deportation                                             06/25/18               1
(b)(1)




    The defendant is sentenced as provided in pages 2 through             6        of this judgment in accordance with the findings and
conclusions made in open court, a transcript of which is attached hereto and incorporated in by this reference. The sentence is imposed
pursuant the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s)                                                 ☐ is      ☐    are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         January 7, 2019
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                         Marcia S. Krieger, Chief United States District Judge
                                                                         Name and Title of Judge

                                                                                January 17, 2019
                                                                         Date
          Case 1:18-cr-00331-MSK-GPG Document 38 Filed 01/17/19 USDC Colorado Page 2 of 6
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                  Judgment — Page    2     of       6
 DEFENDANT:                   RICARDO DANIEL-ZEFERINO
 CASE NUMBER:                 1:18-cr-00331-MSK-1

                                                           IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: the lesser of 174
 days, or time served.



      ☐    The court makes the following recommendations to the Bureau of Prisons:




      ☒    The defendant is remanded to the custody of the United States Marshal.

      ☐    The defendant shall surrender to the United States Marshal for this district:
           ☐      at                                      ☐      a.m. ☐        p.m.   on                                                     .
           ☐      as notified by the United States Marshal.

      ☐    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ☐      before 2 p.m. on                                        .
           ☐      as notified by the United States Marshal.
           ☐      as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

 at                                                , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                              By
                                                                                                DEPUTY UNITED STATES MARSHAL
        Case 1:18-cr-00331-MSK-GPG Document 38 Filed 01/17/19 USDC Colorado Page 3 of 6
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                Judgment — Page     3      of         6
 DEFENDANT:                   RICARDO DANIEL-ZEFERINO
 CASE NUMBER:                 1:18-cr-00331-MSK-1

                                                    SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: three (3) years.




                                                 MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☒ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
4.    ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the special conditions on the attached page.
        Case 1:18-cr-00331-MSK-GPG Document 38 Filed 01/17/19 USDC Colorado Page 4 of 6
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                 Judgment — Page      4     of          6
 DEFENDANT:                   RICARDO DANIEL-ZEFERINO
 CASE NUMBER:                 1:18-cr-00331-MSK-1

                                          SPECIAL CONDITIONS OF SUPERVISION
1.    If you are deported, you must not thereafter re-enter the United States illegally. If you re-enter the United States legally, you must
      report to the nearest U.S. Probation Office within 72 hours of your return.
        Case 1:18-cr-00331-MSK-GPG Document 38 Filed 01/17/19 USDC Colorado Page 5 of 6
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                      Judgment — Page      5       of         6
 DEFENDANT:                   RICARDO DANIEL-ZEFERINO
 CASE NUMBER:                 1:18-cr-00331-MSK-1

                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                    JVTA Assessment*             Fine                       Restitution
TOTALS             $ 100.00                      $ 0.00                         $ 0.00                     $ 0.00


☐ The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                       Total Loss**             Restitution Ordered               Priority or Percentage




TOTALS                                                          $                               $
☐ Restitution amount ordered pursuant to plea agreement               $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
  subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ☐ the interest requirement is waived for the             ☐ fine       ☐ restitution.

    ☐ the interest requirement for the           ☐    fine    ☐ restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
        Case 1:18-cr-00331-MSK-GPG Document 38 Filed 01/17/19 USDC Colorado Page 6 of 6
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                          Judgment — Page       6       of           6
 DEFENDANT:                   RICARDO DANIEL-ZEFERINO
 CASE NUMBER:                 1:18-cr-00331-MSK-1

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payment of $                                    due immediately, balance due

           ☐      not later than                                    , or
           ☐      in accordance with ☐           C,   ☐     D,      ☐ E, or ☐ F below; or

B     ☒ Payment to begin immediately (may be combined with ☐                     C,      ☐ D, or       ☐ F below); or

C     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ☐ Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




☐     The defendant shall pay the cost of prosecution.

☐     The defendant shall pay the following court cost(s):

☐     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
